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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
  _________________________________
                                    )
  JOHN DOE #1, et al,               )
                                    )
                      Plaintiffs, )
                                    )
                v.                  ) Civil Action No. 03-707 (EGS)
                                    )
  DONALD H. RUMSFELD, et al         )
                                    )
                      Defendants. )
  _________________________________)


                                     ORDER


        On October 27, 2004, this Court issued an order permanently

  enjoining the military’s anthrax vaccine program.          Specifically,

  the Court held, “Unless and until FDA classifies AVA as a safe

  and effective drug for its intended use, an injunction shall

  remain in effect prohibiting defendants’ use of AVA on the basis

  that the vaccine is either a drug unapproved for its intended use

  or an investigational new drug within the meaning of 10 U.S.C. §

  1107.   Accordingly, the involuntary anthrax vaccine program, as

  applied to all persons, is rendered illegal absent informed

  consent or a Presidential waiver.”

        Defendants have now filed an Emergency Motion to Modify the

  Injunction, seeking clarification that there exists a third

  option - an alternative to informed consent or a Presidential

  waiver - by which defendants can administer AVA to service

  members even in the absence of FDA approval of the drug: that is,

  pursuant to an Emergency Use Authorization (“EUA”) under the
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  Project BioShield Act of 2004, 21 U.S.C.A. § 360bbb-3.

        In enacting the EUA provision, Congress appears to have

  authorized the use of unapproved drugs or the unapproved use of

  approved drugs based on a declaration of emergency by the

  Secretary of Health and Human Services, which in turn is based on

  “a determination by the Secretary of Defense that there is a

  military emergency, or a significant potential for a military

  emergency, involving a heightened risk to United States military

  forces of attack with a specified biological, chemical,

  radiological or nuclear agent or agents.”         21 U.S.C.A. § 360bbb-

  3(b)(1)(B).

        Without ruling on the lawfulness or merits of any EUA, upon

  consideration of the defendants’ motion, the opposition and

  replies thereto, the amicus curiae brief, the arguments heard in

  open court on March 21, 2005, and the draft language jointly

  submitted by the parties in this case, it is hereby

        ORDERED that the defendants’ Motion to Modify the Injunction

  is GRANTED; it is further

        ORDERED that the Court’s injunction of October 27, 2004, is

  modified by the addition of the following language: “This

  injunction, however, shall not preclude defendants from

  administering AVA, on a voluntary basis, pursuant to the terms of

  a lawful emergency use authorization (“EUA”) pursuant to section

  564 of the Federal Food, Drug, and Cosmetic Act, without

  prejudice to a future challenge to the validity of any such EUA.
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  The Court expressly makes no finding as to the lawfulness of any

  specific EUA that has been or may be approved by the Department

  of Health and Human Services.”



  Signed:     Emmet G. Sullivan
              United States District Judge
              April 6, 2005
